        Case 1:25-cv-00381-ABJ         Document 115       Filed 04/18/25     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                        Plaintiffs,

         v.                                           Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                        Defendants.


                                      NOTICE OF APPEAL

        PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s April 18, 2025 Order (ECF No.

113).

Dated: April 18, 2025                         YAAKOV M. ROTH
                                              Acting Assistant Attorney General
                                              Civil Division

                                              BRAD P. ROSENBERG
                                              Special Counsel

                                              /s/ Liam C. Holland
                                              LIAM C. HOLLAND
                                              Trial Attorney
                                              U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street, NW
                                              Washington, DC 20005
                                              Phone: 202-514-4964
                                              Fax: 202-616-8460
                                              Email: liam.c.holland@usdoj.gov

                                              Attorneys for Defendants
